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                     IN THE UNITED STATES BANKRUPTCY COURT
                          FOR THE DISTRICT OF DELAWARE

In re:                                        Chapter 11

ASHINC CORPORATION, et al.,                   Case No. 12-11564 (CSS)

         Debtors.                             (Jointly Administered)
CATHERINE E. YOUNGMAN, LITIGATION
TRUSTEE FOR ASHINC CORPORATION, ET.
AL., AS SUCCESSOR TO THE OFFICIAL
COMMITTEE OF UNSECURED CREDITORS
OF ASHINC CORPORATION, AND ITS
AFFILIATED DEBTORS,
                                              Adv. Proc. No. 13-50530 (CSS)
                     Plaintiff,

BDCM OPPORTUNITY FUND II, LP, BLACK
DIAMOND CLO 2005-1 LTD., and SPECTRUM
INVESTMENT PARTNERS, L.P.,

                     Intervenors,

                v.

YUCAIPA AMERICAN ALLIANCE FUND I,
L.P., and YUCAIPA AMERICAN ALLIANCE
(PARALLEL) FUND I, L.P.,

                     Defendants.




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CATHERINE E. YOUNGMAN, LITIGATION
TRUSTEE FOR ASHINC CORPORATION, ET
AL., AS SUCCESSOR TO BDCM
OPPORTUNITY FUND II, LP, BLACK
DIAMOND CLO 2005-1 LTD., SPECTRUM
INVESTMENT PARTNERS, L.P., BLACK                    Adv. Proc. No. 14-50971 (CSS)
DIAMOND COMMERCIAL FINANCE, L.L.C.,
as co-administrative agent, and SPECTRUM
COMMERCIAL FINANCE LLC, as co-
administrative agent,

                         Plaintiff,

                v.

YUCAIPA AMERICAN ALLIANCE FUND I,
L.P., and YUCAIPA AMERICAN ALLIANCE
(PARALLEL) FUND I, L.P.,

                        Defendants.

    NOTICE OF COMPLETION OF BRIEFING WITH RESPECT TO MOTION OF
    YUCAIPA AMERICAN ALLIANCE FUND I, L.P. AND YUCAIPA AMERICAN
  ALLIANCE (PARALLEL) FUND I, L.P. FOR ENTRY OF AN ORDER PURSUANT TO
     28 U.S.C. § 157(D) AND BANKRUPTCY RULE 5011(A) WITHDRAWING THE
        REFERENCE OF ADVERSARY PROCEEDINGS, AND REQUEST FOR
                TRANSMITTAL TO DISTRICT COURT PURSUANT TO
                         LOCAL BANKRUPTCY RULE 5011-1

                    PLEASE TAKE NOTICE that on February 1, 2013, the Official Committee of

 Unsecured Creditors (the “Committee”) appointed in the cases of the above-captioned debtors (the

 “Debtors”), filed the Complaint for (I) Equitable Subordination, (II) Recharacterization, (III)

 Breach of Contract, (IV) Specific Performance, (V) Breaches of Fiduciary Duties, (VI) Aiding and

 Abetting Breaches of Fiduciary Duties, (VII) Avoidance and Recovery of Avoidable Transfers, and

 (VIII) Disallowance of Certain Claims [Adv. Docket No. 1] with the United States Bankruptcy

 Court for the District of Delaware (the “Court”) in Adv. Proc. No. 13-50530-CSS (the “Estate

 Action”).



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                   PLEASE TAKE FURTHER NOTICE that on March 14, 2013, the Committee filed

the Amended Complaint for (I) Equitable Subordination, (II) Recharacterization, (III) Breach of

Contract, (IV) Specific Performance, (V) Breaches of Fiduciary Duties, (VI) Aiding and Abetting

Breaches of Fiduciary Duties, (VII) Avoidance and Recovery of Avoidable Transfers, and (VIII)

Disallowance of Certain Claims [Adv. Docket No. 76] in the Estate Action.

                   PLEASE TAKE FURTHER NOTICE that on November 19, 2014, plaintiffs

BDCM Opportunity Fund II, LP, Black Diamond CLO 2005-1 Ltd. (collectively, “Black

Diamond”), and Spectrum Investment Partners, L.P. (“Spectrum,” and together with Black

Diamond, “BD/S”) filed the Complaint for (I) Equitable Subordination, (II) Breach of Contract,

(III) Breach of the Implied Duty of Good Faith and Fair Dealing, and (IV) Tortious Interference

with Contract [Adv. Docket No. 1] with the Court in Adv. Proc. No. 14-50971-CSS (the “Lender

Action,” and together with the Estate Action, the “Actions”).

                   PLEASE TAKE FURTHER NOTICE that on October 4, 2021, Defendants

Yucaipa American Alliance Fund I, L.P. and Yucaipa American Alliance (Parallel) Fund I, L.P.

(collectively, “Yucaipa”) filed the Motion of Yucaipa American Alliance Fund I, L.P. and Yucaipa

American Alliance (Parallel) Fund I, L.P. for Entry of an Order Pursuant to 28 U.S.C. § 157(d)

and Bankruptcy Rule 5011(a) Withdrawing the Reference of Adversary Proceedings. [Adv. 13-

50530, Adv. Docket No. 890; Adv. 14-50971, Adv. Docket No. 625] (the “Motion to Withdraw

the Reference”) in the Actions.




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                   PLEASE TAKE FURTHER NOTICE that all briefing with respect to the Motion

to Withdraw the Reference has been completed. Below is a list of all relevant pleadings and

respective docket numbers related to the Motion to Withdraw the Reference:
            1. Complaint for (I) Equitable Subordination, (II) Recharacterization, (III) Breach of
               Contract, (IV) Specific Performance, (V) Breaches of Fiduciary Duties, (VI) Aiding
               and Abetting Breaches of Fiduciary Duties, (VII) Avoidance and Recovery of
               Avoidable Transfers, and (VIII) Disallowance of Certain Claims [Filed 2/1/13]
               (Adv. 13-50530, Adv. Docket No. 1)
            2. Amended Complaint for (I) Equitable Subordination, (II) Recharacterization, (III)
               Breach of Contract, (IV) Specific Performance, (V) Breaches of Fiduciary Duties,
               (VI) Aiding and Abetting Breaches of Fiduciary Duties, (VII) Avoidance and
               Recovery of Avoidable Transfers, and (VIII) Disallowance of Certain Claims [Filed
               3/14/13] (Adv. 13-50530, Adv. Docket No. 76)
            3. Answer and Affirmative Defense of Defendants Yucaipa American Alliance Fund I,
               L.P., Yucaipa American Alliance (Parallel) Fund I, L.P., Yucaipa American
               Alliance Fund II, L.P., Yucaipa American Alliance (Parallel) Fund II, L.P to
               Plaintiff’s Complaint [Filed 2/11/13] (Adv. 13-50530, Adv. Docket No. 16)
            4. Answer and Affirmative Defense of Defendants Yucaipa American Alliance Fund I,
               L.P., Yucaipa American Alliance (Parallel) Fund I, L.P., Yucaipa American
               Alliance Fund II, L.P., Yucaipa American Alliance (Parallel) Fund II, L.P to
               Plaintiff’s Amended Complaint [Filed 4/1/13] (Adv. 13-50530, Adv. Docket No.
               95)
            5. Complaint for (I) Equitable Subordination, (II) Breach of Contract, (III) Breach of
               the Implied Duty of Good Faith and Fair Dealing, and (IV) Tortious Interference
               with Contract [Filed 11/19/14] (Adv. 14-50971, Adv. Docket No. 1)
            6. Answer to Complaint [Filed 2/19/15] (Adv. 14-50971, Adv. Docket No. 19; Sealed
               Version, Docket No. 33)
            7. Motion of Yucaipa American Alliance Fund I, L.P. and Yucaipa American Alliance
               (Parallel) Fund I, L.P. for Entry of an Order Pursuant to 28 U.S.C. § 157(d) and
               Bankruptcy Rule 5011(a) Withdrawing the Reference of Adversary Proceedings.
               [Filed 10/4/21] (Adv. 13-50530, Adv. Docket No. 890; Adv. 14-50971, Adv.
               Docket No. 625)
            8. Litigation Trustee's Opposition to Defendants Yucaipa American Alliance Fund I,
               L.P. and Yucaipa American Alliance (Parallel) Fund I, L.P.'s Motion for Entry of
               an Order Pursuant to 28 U.S.C. § 157(d) and Bankruptcy Rule 5011(a)
               Withdrawing the Reference of Adversary Proceedings [Filed 11/1/21] (Adv. 13-
               50530, Adv. Docket No. 895; Adv. 14-50971, Adv. Docket No. 630)
            9. Reply in Support of Motion of Yucaipa American Alliance Fund I, L.P. and Yucaipa
               American Alliance (Parallel) Fund I, L.P. for Entry of an Order Pursuant to 28


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                   U.S.C. § 157(d) and Bankruptcy Rule 5011(a) Withdrawing the Reference of
                   Adversary Proceedings [Filed 11/18/21] (Adv. 13-50530, Adv. Docket No. 898;
                   Adv. 14-50971, Adv. Docket No. 633)
            10. Request for Oral Argument [Filed 11/22/21] (Adv. 13-50530, Adv. Docket No.
                900; Adv. 14-50971, Adv. Docket No.635)


                   Pursuant to Rule 5011-1 of the Local Rules of Bankruptcy Practice and Procedure

of the United States Bankruptcy Court for the District of Delaware, the Motion to Withdraw the

Reference is ready for transmittal to the United States District Court for the District of Delaware.

 Dated: November 22, 2021                     PACHULSKI STANG ZIEHL & JONES LLP

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